                Case 3:16-cv-00885-AVC Document 119-18 Filed 10/30/17 Page 1 of 6




Rachel Rogers
               Case 3:16-cv-00885-AVC Document 119-18 Filed 10/30/17 Page 2 of 6

    Original Message
From: Deal, Alexandra [mailto:adeal@toddweld.com]
Sent: Tuesday, February 14, 2017 12:58 PM
To: Sconzo, James M.
Subject: RE: Montague v. Yale

Hi Jim,

Ifs going to be closer to 1:45 before I'm able to call.

Alex

From: Sconzo, James M. [JSconzo@carltonfields.com]
Sent: Monday, February 13, 2017 4:34 PM
To: Deal, Alexandra
Cc: Stern, Max D.
Subject: RE: Montague v. Yale

Alex,

I booked 2 to 3 but will be open 1 to 2.

Jim

    Original Message
From: Deal, Alexandra [mailto:adeal@toddweld.com]
Sent: Monday, February 13, 2017 3:39 PM
To: Sconzo, James M.
Cc: Stern, Max D.
Subject: RE: Montague v. Yale

Ok, I'll give you a call in that window.

Thanks,
Alex


From: Sconzo, James M. [JSconzo@carltonfields.com]
Sent: Monday, February 13, 2017 3:37 PM
To: Deal, Alexandra
Cc: Stern, Max D.
Subject: RE: Montague v. Yale

Hi Alex,

I'm available tomorrow between 1 and 3.

Jim

860-392-5022

                                                          2
Case 3:16-cv-00885-AVC Document 119-18 Filed 10/30/17 Page 3 of 6




                                            Jane Roe
Case 3:16-cv-00885-AVC Document 119-18 Filed 10/30/17 Page 4 of 6



 Jane Roe                              Jane Roe
                            Jane Roe

                                  Jane Roe


                                       Jane Roe
              Case 3:16-cv-00885-AVC Document 119-18 Filed 10/30/17 Page 5 of 6

> This e-mail, and any attachments thereto, is intended only for the addressee(s) named
> herein and may contain legally privileged and/or confidential information. If you are not
> the intended recipient, you are hereby notified that any dissemination, distribution or
> copying of this e-mail, and any attachments thereto, is strictly prohibited. If you have
> received this e-mail in error, please immediately notify me by return e-mail and
> permanently delete the original and any copy of this e-mail message and any printout
> thereof.
>
> To ensure compliance with requirements imposed by the U.S. Internal Revenue Service,
> we inform you that any U.S. tax advice contained in this communication (including any
> attachments) is not intended or written to be used, and cannot be used, for the purpose of
> avoiding U.S. tax penalties.



-This e-mail, and any attachments thereto, is intended only for the addressee(s) named
herein and may contain legally privileged and/or confidential information. If you are not
the intended recipient, you are hereby notified that any dissemination, distribution or
copying of this e-mail, and any attachments thereto, is strictly prohibited. If you have
received this e-mail in error, please immediately notify me by return e-mail and
permanently delete the original and any copy of this e-mail message and any printout
thereof

To ensure compliance with requirements imposed by the U.S. Internal Revenue Service,
we inform you that any U.S. tax advice contained in this communication (including any
attachments) is not intended or written to be used, and cannot be used, for the purpose of
avoiding U.S. tax penalties.



-This e-mail, and any attachments thereto, is intended only for the addressee(s) named
herein and may contain legally privileged and/or confidential information. If you are not
the intended recipient, you are hereby notified that any dissemination, distribution or
copying of this e-mail, and any attachments thereto, is strictly prohibited. If you have
received this e-mail in error, please immediately notify me by return e-mail and
permanently delete the original and any copy of this e-mail message and any printout
thereof

To ensure compliance with requirements imposed by the U.S. Internal Revenue Service,
we inform you that any U.S. tax advice contained in this communication (including any
attachments) is not intended or written to be used, and cannot be used, for the purpose of
avoiding U.S. tax penalties.



This e-mail, and any attachments thereto, is intended only for the addressee(s) named
herein and may contain legally privileged and/or confidential information. If you are not
the intended recipient, you are hereby notified that any dissemination, distribution or
copying of this e-mail, and any attachments thereto, is strictly prohibited. If you have
received this e-mail in error, please immediately notify me by return e-mail and
permanently delete the original and any copy of this e-mail message and any printout
                                                        5
              Case 3:16-cv-00885-AVC Document 119-18 Filed 10/30/17 Page 6 of 6

thereof.

To ensure compliance with requirements imposed by the U.S. Internal Revenue Service,
we inform you that any U.S. tax advice contained in this communication (including any
attachments) is not intended or written to be used, and cannot be used, for the purpose of
avoiding U.S. tax penalties.
